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                        EXHIBIT 77
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                                                                                                               EXHIBIT
                                           Re: From the Orthodontic Office of Dr Chpindel



         Subject: Re: De la part du Cabinet d'Orthodontie des Dr Chpindel From: ctr florence
         chpindel <ortho@chpindel.com> Date: 13/02/2024, 19:16 To:
         Sysmic Aparis
         <aparis@sysmicfilms.com>



         Good day sir,

         Thanks for your feedback.

         Given the tense situation with the mother, we will do without her signature on the quotes since she has
         already signed the informed consents with us.

         She therefore signified us her agreement to begin the treatments of Juliette and Eva.

         Good evening,

         Sincerely,

         Delilah

         014622 66 66




         On 02/13/2024 at 2:25 p.m., Sysmic Aparis wrote:

          Hello, yes it is obvious that if Mrs. Brown refused to participate in the orthodental care of our daughters
          you would not be impacted in any way and we already have a case before the family judge in Paris on this subject.



          Having full custody of our daughters it is with me that you will deal for care and payments as we have done from the
          beginning.

          On the other hand, you told me that you could not begin care for our daughters until the documents you had provided
          me, including the estimate, had not been signed by both parents, which I had relayed to Mrs. Brown who had until
          now refused to sign anything other than informed consent. This is why I asked you if it was really necessary for her to
          also sign the quotes.



          Now that she has contacted you, have you been able to validate her agreement so that Eva and Juliette's care
          can begin or do you still need her to sign all the requested documents?



          Thank you for your response on this subject because it may impact our appearance before the family judge tomorrow
          Wednesday morning.


          Sincerely,

          Arnaud Paris




           sent from my lphone


          I  Feb. 13 2024 at 11 :31, ctr florence chpindel <ortho@chpindel.com> wrotg_;_ _ _ _ _ __




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        Subject: Re: De la part du Cabinet d'Orthodontie des Dr Chpindel
        From: dr florence chpindel <ortho@chpindel.com>
        Date: 13/02/2024, 19:16
        To: Sysmic Aparis <aparis@sysmicfilms.com>


        Bonsoir Monsieur,

        Merci pour votre retour.

        Au vu de la situation tendu avec la maman, nous nous passerons de sa signature sur les
        devis puisqu'elle nous a deja signe les consentements eclaires.

        Nous signifiant ainsi son accord pour entamer les traitements de Juliette et Eva.

        Bonne soiree,

        Cordialement,

        Dalila

        01 46 22 66 66



        Le 13/02/2024 a 14:25, Sysmic Aparis a ecrit:
         Bonjour, oui ii est evident que si Madame Brown refusait de participer aux soins
         orthodentaires de nos filles vous ne seriez aucunement impacte et nous avons deja une
         affaire devant le juge de la famille a Paris ce sujet.

         Ayant la garde complete de nos filles c'est avec moi que vous traiterez pour les soins et les
         paiements comme nous le faisons depuis le debut.

         Par contre vous m'aviez indique que vous ne pourriez pas commencer les soins pour nos
         filles tant que les documents que vous m'aviez fournis, comprenant le devis, n'auraient
         pas ete signes par les deux parents, ce que j'avais relaye a Madame Brown qui avait refuse
         jusqu'a present de signer autre chose que le consentement eclaire. C'est la raison pour
         laquelle je vous avais demande s'il etait vraiment necessaire qu'elle signe aussi les devis.

         Maintenant qu'elle vous a contacte avez vous pu valider son accord pour que les soins
         d'Eva et Juliette puissent commencer ou avez vous toujours besoin qu'elle vous signe taus
         les documents demandes?

         Merci pour votre reponse a ce sujet car cela peut impacter notre passage devant le juge de
         la famille demain mercredi matin.

         Cordialement,

         Arnaud Paris



         Envoye de mon iPhone


         I Le 13 fevr. 2024 a 11:31, dr florence chpindel <ortho@chRindel.com> a ecrit:



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